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                UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES                         :
                                               3:16-CR-16
                                      :
          v.
                                      :     (JUDGE MANNION)

SHANNON HIGGINS,                      :

                Defendant             :
                                    ORDER
    For the reasons set forth in the Memorandum of this date, IT IS


HEREBY ORDERED THAT:

   1. Higgins’ Motion for Compassionate Release because of

      the COVID-19 pandemic, (Doc. 26), is DISMISSED

      WITHOUT PREJUDICE for failure to comply with the

      exhaustion requirement under §3582(c)(1)(A)(i) since he

      filed his motion without first submitting a request to the

      Warden of FCI Cumberland.

   2. Insofar as Higgins is seeking the court to direct the BOP to

      find him eligible for home confinement designation under

      the CARES Act, his motion is DISMISSED since the

      authority to make this determination lies with the BOP

      Director and not the court.


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        3. Higgins’ request for appointment of counsel, (Doc. 26 at

             2), is DENIED.



                                           s/ Malachy E. Mannion
                                           MALACHY E. MANNION
                                           United States District Judge

Dated: October 19, 2020
16-16-01-ORDER




                                          2
